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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 2:11-CR-296 JAM
11
                                  Plaintiff,            STIPULATION TO CONTINUE RESTITUTION
12                                                      HEARING AND ORDER
                            v.
13                                                      DATE: August 7, 2018
     CHRISTIAN PARADA RENTERIA,                         TIME: 9:15 a.m.
14                                                      COURT: Hon. John A. Mendez
                                 Defendant.
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17                                              STIPULATION
18          The United States of America, by and through its counsel of record, and defendant Christian
19 Parada Renteria, by and through his counsel, Dina L. Santos, hereby stipulate as follows:

20          1.     On June 12, 2018, the Court sentenced defendant Christian Parada Renteria, and set the
21 matter for a restitution hearing to be held on August 7, 2018. ECF No. 755.

22          2.     Counsel for the United States and defendant Parada request that the Court reset the
23 restitution hearing for August 14, 2018, at 9:15 a.m., pursuant to 18 U.S.C. § 3664(d)(5).

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25          IT IS SO STIPULATED.
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      STIPULATION AND [PROPOSED] ORDER                  1
            Case 2:11-cr-00296-JAM Document 771 Filed 08/03/18 Page 2 of 2

 1   Dated: August 2, 2018                       MCGREGOR W. SCOTT
                                                 United States Attorney
 2

 3                                         By: /s/ BRIAN A. FOGERTY
                                               BRIAN A. FOGERTY
 4                                             Assistant United States Attorney
 5
     Dated: August 2, 2018                       /s/ DINA L. SANTOS
 6                                               DINA L. SANTOS
                                                 Counsel for Defendant
 7                                               Christian Parada Renteria
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10                                        ORDER

11               IT IS SO ORDERED.

12 Dated: 8/2/2018

13                                                /s/ John A. Mendez
                                                 JOHN A. MENDEZ
14                                               UNITED STATES DISTRICT COURT
                                                 JUDGE
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     STIPULATION AND [PROPOSED] ORDER        2
